Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 1 of 78 PagelD #: 122

Exhibit P
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 2 of 78 PagelD #: 123

12:28 Rd M8

Lynn from Rumf... & Q

+14016230321

 

Saturday, November 14, 202

a

&.07 AM

 

 
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 3 of 78 PagelD #: 124

12:29 Hb do @ Pate

Lynn from Rum... :
+14016230321 ~ a

 

8:18 Al

 

Thank you. We left
you messages last
night that Alex had to
go to Hasbro ED for
evaluation. | believe
Adam left his number
along with the doctor
caring for Alex so you
can get further info. |
just want to make sure
you were aware. Ty

Bag Ph

Wednesday, November 78, 2020

 

  
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 4 of 78 PagelD #: 125

12:29 Hid? Baa.

Lynn from Rumf... t Qi:
+14016230321 .
Galitiy (Ub AIGA bu yuu

can get further info. |
just want to make sure
you were aware. Ty

2:43 PM

Wednesday, November 18, 2020

 

ee Ei

 
/ Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 5 of 78 PagelD #: 126

Exhibit Q
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 6 of 78 PagelD #: 127
42/21/2020 Yahoo Mail ~ RE: ALTAMIR HOSPITAL PLACEMENT

RE: ALTAMIR HOSPITAL PLACEMENT

rrom: Daigle, Diane (ddaigle@courts.ri.gov)
Tox vilbonc@yahoo.com, bparker@courts.ri.gov

tyr

Date: Wednesday, December 9, 2020, 10:22 AM PST

Thank you Carline, It was a pleasure meeting you this morning. It always helps to put a face with a name, even
if it is on a zoom call, Anyoné Cai See that you are a zealous advocate for your son.

You indicated that you had conducted an investigation involving some of your concems and | would be
interested in reviewing any items you have regarding that investigation that goes beyond your discussions with
Alex, which we have already discussed. As you are aware Bethany did have the SW and Doctor from Bradley
join the call so that some of these issues could be discussed, however, you did not wish to discuss them with
Bradley staff at the time of the call. We certainly understood why you might want time to prepare and being
respectful of that we scheduled a meeting next week to include Bradley. My understanding from an email I just
received from you is that you would not be attending the meeting. | am not sure how to address your concerns
without a meeting that involves Bradley Haspital, you, Alex and CASA. If you would like to reconsider and have
a meeting scheduled please let us know.

Thank you for your consideration.

Diane Daigle, Esq.

Staff Attorney

Office of the Court Appointed Special Advocate (CASA)
Garrahy Judical Complex

One Dorrance Piaza

Providence, RI 02903

Tele.: (401) 458-3344

Fax: (401) 458-3340

ddaigle@couris. 1.gov

 

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Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 7 of 78 PagelD #: 128
12/21/2020 Yahoo Mail~ RE: ALTAMIR HOSPITAL PLACEMENT

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Fror: Carline Vilbon <vilbonc@yahoo.com>

Sent: Wednesday, December 9, 2020 1:01 PM

To: Parker, Bethany <bparker@courts.ri.gov>; Daigle, Diane <ddaigle@coutts.ri.gov>
Subject: Re: ALTAMIR HOSPITAL PLACEMENT

Good afternoon attorney Daigle,

As stated in our Zoom meeting earlier, with Alex. There are discrepancies in
communication and documents about my son records at Bradley hospital

One week ago, | reported to their nursing supervisor that my son was being g
mistreated and frivolous restrained, physically and chemically.

Alex reported humorously that he was wrongfully restrained, when another patient
aitacked him, he was punished instead.

A staff wrongfully accused my son of hitting a female doctor, and on another occasion
spitting at a nurse. My brother and | have investigated these so called incidents and
found them highly inconsistent and incredible.

Additionally, Alex, reported today during our Zoom meeting that he is uncomfortable ai
Bradley and is not getting the help he needs. And therefore requested your support in
helping him transfer to another hospital that is not affiliated with Hasbro.

Alex left the Zoom meetin before it ended out of frustration because he didn't feel that he
was going to get the support he requested.

| contacted the court and verified that the next court date 12/18 is set for 2 pm via
webex. | will address additional legal concerns at that time.

2'4,
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 8 of 78 PagelD #: 129
42/21/2020 Yahoo Mail - RE: ALTAMIR HOSPITAL PLACEMENT

| will continue to advocate for my son's best interest.

Sincerely,

Carline Vilbon

On Friday, December 4, 2020, 11:44:47 AM PST, Daigle, Diane <ddaigle@cauris .gov> wrote:

Thank you Carline. Can you be more specific with what Altmir is saying he is being wrongfully accused of
As well as the inaccurate reports and records being added to his file?

Thanks,

Diane Daigle, Esq.

Staff Attorney

Office of the Court Appointed Special Advocate (CASA)
Garrahy Judical Complex

One Dorrance Plaza

Providence, R} 62903

Tele.: (401) 458-3344

Fax: (401) 458-3340

ddaigle@courts..gay

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Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 9 of 78 PagelD #: 130
42/21/2020 Yahoo Mail - RE: ALTAMIR HOSPITAL PLACEMENT

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From: Carline Vilbon <vilbencteyanoc.cam>

Sent: Friday, December 4, 2020 12:56 PM

To: Parker, Bethany <bparker@cowris.ri.gov>; Daigle, Diane <ddaigle@icourts 1.gov>
Subject: RE: ALTAMIR HOSPITAL PLACEMENT

 

Good afternoon,

Altamir reported some concerns about the staff and improper care at Bradley hospital.

He also stated that the staff are falsely accusing him. And | am concerned that
inaccurate reports and documents have been added to his records as a result.

Altamir has asked that you call him on Harbor Unit at Bradley. Because he would like to
axpress his concerns and request additional support from you.

He has tried to call you Bethany , because a doctor at Bradley gave him your number to
call you, but he told me that he is being discouraged from calling you.

| have also requested a zoom meeting with you, the Bradley staff and Altarnir, but have
not heard back fram anyone.

Altamir or Alex admitted at the Harbor Unit at Bradley hospital, and their number is
(401) 432-1000

4/4
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 10 of 78 PagelD #: 131

Exhibit R
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 11 of 78 PagelD #: 132
12/21/2020 Yahoo Mail - Re: BRADLEY IS DISTORTING ALTAMIR

Re: BRADLEY IS DISTORTING ALTAMIR

rrem: Carline Vilbon (vilbonc@yahoo.com)
To: ddaigle@courts.ri.gov; bparker@courts.ri.gov

Date: Tuesday, December 15, 2020, 09:22 AM PST

iam concerned that Altamir is being reprogrammed, because

Altamir has been around children with gender issues while at Hasbro, and has never been
as influenced to questions his own gender identity.

| will soeak with him further to determine what happened, and what is influencing him.

Thanks,

Carline Vilbon

On Tuesday, December 15, 2020, 09:02:35 AM PST, Parker, Bethany <bparker@courts.ri.gov> wrote:

Good morning Carline.

Thank you so much for sending along your concerns. | can assure you that Bradley Hospital does not teach
children to disassociate with their genders. | believe what is happening is that there may be other children
on ihe unit who don’t identify with a gender and that is where Alex is being exposed to it. | believe your years
of raising your child according to your proper values will not unravel within the short time he will be at
Bradley. | spoke with Alex a short time ago and he did not address any concerns or issues thai he had and |
had to end the zoom call because he muted me and turned off my video. Please reach out if you have any
other concerns or questions!

Bethany

From: Carline Vilbon <vilbonc@yanoo.com>

Sent: Tuesday, December 15, 2020 11:45 AM

To: Daigle, Diane <ddaigle@courts.ri.gov>; Parker, Bethany <bparker@couris.ri.gov>
Subject: Re: BRADLEY IS DISTORTING ALTAMIR

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content is safe.

4/3
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 12 of 78 PagelD #: 133
12/21/2020 Yahoo Mail - Re: BRADLEY IS DISTORTING ALTAMIR

Please contact Bradley to help resolve this issue. Also Alex requested to speak to you.
Thanks,

Carline Vilbon

3/3
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 13 of 78 PagelD #: 134

Exhibit S
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 14 of 78 PagelD #: 135
12/21/2020 Yahoo Mail - RE: ALTAMIR HOSPITAL PLACEMENT

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From: Carline Vilbon <vilbonc@yanoo.com>

Sent: Wednesday, December 9, 2020 1:07 PM

To: Parker, Bethany <bparker@courts.ri.gov>: Daigle, Diane <ddaigle@courts.ri.gov>
Subject: Re: ALTAMIR HOSPITAL PLACEMENT

Good afternoon attorney Daigie,

As stated in our Zoom meeting earlier, with Alex. There are discrepancies jn
communication and documents about my son records at Bradley hospital

One week ago, | reported to their nursing supervisor that my son was being g
mistreated and frivolous restrained, physically and chemically.

Alex reported humorously that he was wrongfully restrained, when another patient
attacked him, he was punished instead.

A staff wrongfully accused my son of hitting a female doctor, and on another occasion
spitting at a nurse. My brother and! have investigated these so called incidents and
found them highly inconsistent and incredible.

Additionally, Alex, reported today during our Zoom meeting that he is uncomfortable at
Bradley and is not getting the help he needs. And therefore requested your support in
helping him transfer to another hospital that is not affiliated with Hasbro.

Alex left the Zoom meetin before it ended out of frustration because he didn't feel that he

VATA mine be OL AE; ‘
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 15 of 78 PagelD #: 136
42/21/2020 Yahoo Mail - RE: ALTAMIR HOSPITAL PLACEMENT

| will continue to advocate for my son's best interest.

Sincerely,

Carline Vilbon

On Friday, December 4, 2020, 11:44:47 AM PST, Daigle, Diane <ddaigie@courts..gov> wrote:

Thank you Carline. Can you be more specific with what Altmir is saying he is being wrongfully accused of
As well as the inaccurate reports and records being added to his file?

Thanks,

Diane Daigle, Esq.

Staff Attorney

Office of the Court Appointed Special Advocate (CASA)
Garrahy Judical Complex

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Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 16 of 78 PagelD #: 137
12/21/2020 Yahoo Mail - RE: ALTAMIR HOSPITAL PLACEMENT

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protected by applicable legal privileges and is confidential,

Sent: Friday, December 4, 2020 12:56 PM
To: Parker, Bethany <bparker@couris ri.goy>; Daigle, Diane <ddaigle@courts.c).gav>
Subject: RE: ALTAMIR HOSPITAL PLACEMENT

 

 

Good afternoon,

Altamir reported some concerns about the staff and improper care at Bradley hospital.

He also stated that the staff are falsely accusing him. And | am concerned that
inaccurate reports and documents have been added to his records as a result.

Altamir has asked that you call him on Harbor Unit at Bradley. Because he would like to
express his concerns and request additional support from you.

He has tried to call you Bethany , because a doctor at Bradley gave him your number to
call you, but he told me that he is being discouraged from calling you.

| have also requested a zoom meeting with you, the Bradley staff and Altamir, but have
not heard back from anyone.

Altamir or Alex admitted at the Harbor Unit at Bradley hospital, and their number is
(401) 432-1000

4/4
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 17 of 78 PagelD #: 138

Exhibit T
4/7/2021 Yahoo Mail - RE: RESCISSION OF ALTAMIR'S VOLUNTAR

Case 1:21-cv-
21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Pa

ge 18 of 78 PagelD #: 139

RE: RESCISSION OF ALTAMIR'S VOLUNTARY FORM

From: Carline Vilbon (vilbonc@yahoo.com)
To:  talmeida2@lifespan.org
Date: Tuesday, December 22, 2020, 07:02 PM PST

This evening, my son Altamir A. Vilbon who is admitted at the Bradley Hospital Bay unit
told me that he signed a voluntary admission form, which he did not fully understand, and
refused sign initialy, since his transfer from Hasbro Children's hospital in November 24.
Altamir said that he was misled into sign it, and would like to rescind that form.

Please inform Altamir's concerns to your administration as soon as possible.

Thanks,

Carline Vilbon, mother of Altamir A. Vilbon

a
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 19 of 78 PagelD #: 140

Exhibit U
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 20 of 78 PagelD #: 141
249 Bid do SB atl

Lisa Rumford H... :
+14014998998 ~ QQ}

Saturday, January 2, 2021

MMS
10:34AM

 

| will pass along

your concerns to the
supervisor. Thank you
for letting me know

 

10:36 AM

 

FR OG et
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 21 of 78 PagelD #: 142
249 Hid d -- ee als

Me .
10:34 AM, Jan Z

(No subject)

Good moming Lisa,

This is Carline Vilbon, mother of Altamir
Vilbon, or Alex, My son is a patient at the
Rumford House, and you called me recently
regarding his quarantine status.

| wanted you to be aware that my son reported
he feels uncomfortable with Sotona, a menta!
heatth worker at the Rumford House, and

that their relationship is not therapeutic nor
supportive for him. This led to him to being
restrained yesterday, because Sotona pres-
suring him to take a shower at approximately
7Pm, while he was waiting for a meal from
home. Alex stated that he told Sotona many
times that he did not want a shower, but she
was puting too much pressure on him, that he
escalated in an outburst, which caused him
to be restrained. | am concerned that this is a
continuation of mistreatment, which led to his
recent hospitalization, when Lynn the charge
nurse snatched a sentimental object from Alex,
which [ had given him, and sent him to Hasbro
in restraints. This type of restraint is illegal.
Also, when | called to check on Alex, Sotona
snatched the phone from Alex, and began
telling me that! brought Alex too much food,
and that she was not gaing to allow him to eat
the meal. And then she began to impose on

me by telling me to speak to Adam the social
worker, As much as! have tried to avoid
conflict with and confusion with your staff, |

al <

Copy text Share

Hh O <
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 22 of 78 PagelD #: 143
249 QE - g@tde

LisaRumfordH.. ¢ Q :

+14014998999

for letting me know 1036 AM

 
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 23 of 78 PagelD #: 144

Exhibit V
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 24 of 78 PagelD #: 145
1/25/2021 Yahoo Mail - RE: RE; ALTAMIR'S IS BEING MISTREATED AT BRADLEY HOSPITAL

RE: RE; ALTAMIR'S IS BEING MISTREATED AT BRADLEY HOSPITAL

rrom: Parker, Bethany (bparker@courts.ri.gov)
To: vilbonc@yahoo.com; ddaigle@courts.ri.gov

Date: Wednesday, January 20, 2021, 11:08 AM PST

Hello Cartine,

| want to fill you in what was reported by Bradley staff about the event that took place today. Bradley staff is
reporting that Alex had made the telephone call to you without permission from staff. Per DCYF and the Court,
your telephone calls and visits are to be supervised. With that said, he tried to circumnavigate the order and
call you without supervision. Staff reported that after the telephone call was ended, Alex began biting, kicking,
throwing things and became extremely aggressive. Because he was so aggressive, he was put in a restraint
chair.

Staff reports that since Alex has been placed on CCAD unit, he has been participating in groups, socializing wit
peers and does not appear to be uncomfortable. {n fact, staff reported that just yesterday Alex was in group,
participating, when some children tired to antagonize him, to which he did not act. There doesn’t appear to be
as many behavioral incidents since being on the unit.

The goal is to have him return to Rumford House with the hope of involvement and buy into the program py you.
The ultimate goal is to have him return home to you, but this may not be achievable if there is lack of
involvement on your end.

Diane and | would like to have a meeting with you tomorrow via zoom if that is possible. We were looking ai
10am. If this works for you, please let me know and | will set it up.

Please don’t hesitate to reach out if need bef Hope to hear back from you!

From: Carline Vilbon <viibonc@yanoo.com=>

Sent: Wednesday, January 20, 2021 1:24 PM

To: Daigle, Diane <ddaigle@courts.ri.gov>; Parker, Bethany <bparker@courts.ri.gov>
Subject: Re: RE; ALTAMIR'S IS BEING MISTREATED AT BRADLEY HOSPITAL

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Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 25 of 78 PagelD #: 146
4/25/2021 Yahoo Mail - RE: RE; ALTAMIR'S IS BEING MISTREATED AT BRADLEY HOSPITAL

Thank you for your prompt response. | Although | did not want to speak to their doctor,
as the nurse requested, | told her to communicate my concerns to the doctor. | forgot to
add that It seems that a staff disconnected the call, to keep Alex from speaking to me.
This is a similar incident to the problems that occurred at the Rurnford House.

And Bradley put Alex in the wrong unit. he was not born with Autism. This diagnosis is
an error, which was recently put in his record at Hasbro. That is also a conflict and
discomfort for Alex. And | told the new social worker Kristen about Alex being placed on
the wrong unit.

Also, the reason that | am not speaking with their doctors, is because | never agreed to
this admission, or any other form of unlawful detainment, which is still in dispute. And
they put Alex in the wrong unit. he

Carline Vilbon

On Wednesday, January 20, 2021, 10:05:19 AM PST, Parker, Bethany <bparkern@courts.n.gov> wrote:

Thank you for notifying us of the situation. | will be attending a meeting with Bradley in 10 minutes and wih
be sure to inquire about the incident and voice your concerns. | will fill you in when the meeting has
ended.

Get Outlook for Android<https: ake .ms/aheisa>

 

From: Carline Vilbon <vilbonc@yanac.carm>
Sent: Wednesday, January 20, 2021 1:02:02 PM
To: Diane Daigle <cddaigle@courts.1i. gov>; Bethany Parker <pparker@courts.ri.cov>

Subject: RE; ALTAMIR'S IS BEING MISTREATED AT BRADLEY HOSPITAL

 

Good afternoon:

Alex just called me a few minutes ago, was very upset and wanting to speak to me about a conflict that ne
was experiencing. But before he even got a chance to speak, the call abruptly ended. Then | called the
Cad unit and spoke to a nurse name Alisa, who told me that Alex was being held in his roam by staff,
because he was upset about something. But a few minutes later that same nurse called me and told me
that Alex was in a restraint chair, but failed to state the circumstance that led to this event, and simply
blaming everything on Alex. | told her that | would like them to call me as previously noted, so that | could
intervene in a situation before it escalates to him being restrained. The nurse asked if | would like to speak
to Alex's doctor, | said "no. and that itis standard medical practice to fry all possible effective interventions,
before applying restraints on a child". But she was not pleased with my concerns, as if | should accept any
kind of mistreatment of my son, which will cause him to suffer and becorne aggressive.

2ts
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 26 of 78 PagelD #: 147
4/25/2021 Yahoo Mail - RE: RE; ALTAMIR'S IS BEING MISTREATED AT BRADLEY HOSPITAL.

This is unacceptabie.

Carline Vilbon
Case 1:21-cv-00267-MSM-LDA Document 4-2. Filed 07/06/21 Page 27 of 78 PagelD #: 148

Exhibit B

Me ree
eb Peo Ee gs

in Ree fia ee te BI be ee
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 28 of 78 PagelD #: 149

Sony Vilbon
74 Prince Street
Pawtucket, RI. 0286

Dated: January 13, 2021

1, Sony Vilbon, the uncle of Alexandre Altamir Vilbon, I spoke to him concerning the
report that one of the staff member told my sister Carline Vilbon via a telephone conversation,
and my nephew told me that two residents at the Hasbro hospital were bullyimg him; he reported
such event to an employee yesterday, which led to his isolation in the family room. Altamir
stated that took those residents outside of that facility. He sounded very depress and his voice
has clearly proven so, and mentioned he was lonely. Consequently, Altamir was trying to hurt
himself.

Respectfully submitted,

Gnu il

7 Sony Vilbon

 

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Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 29 of 78 PagelD #: 150

RHODE ISLAND FAMILY COURT

 

Plaintiff,
Department of Children DOCKET NO. PJ20-002943
Youth and Families

¥S.

Defendant
Carline Vilbon

 

ALTAMIR’S CARE PLAN UPON RETURN HOME

This care plan is individualized to manage Altamir’s medical and psychological
conditions, as well to meet his educational and emotional needs. Previously established routines

and interventions will be maintained, until further evaluation by his healthcare providers and for

continuity of care.

PLAN

The goal is to restore normaicy,

a. Return Altamir to his stable home environment

=

Gradually resume previous routine and activities — School, Hobbies,

house chores, reading, playing and recreational activities e.tc.

c. Form social support — trough Support Groups for children with
disabilities

d. Reconnect with friends at social club “The Boys and Girls Club”

e. Rebuild emotional support — From family

f{. Provide psychological support and treatment — From psychotherapist

Page 1 of 4
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 30 of 78 PagelD #: 151

g. Encourage independence

MEDICAL DIAGNOSES

1. Epilepsy / Seizure Disorder ; intractable: - Medication will be managed by Dr Sansevere at
Boston Children’s Hospital with surgical consult as recommended

2. Unspecified Developmental Disability — will receive treatment as ordered by the Boston
Children's Hospital Developmental Medicine

3. Left-sided hemiperesis , hemiplegia , left foot paralysis and weakness - Will return to
Performance Physical Thera py for treatment

4. Ambulation Impairment - Will perform 10 to 20 minutes walk outdoors daily to improve

ambulation and perform home exercises prescribed by physical therapist.
PSYCHIATRIC DLAGNONSES

1. Major Depressive Disorder - Medication will be managed by prescriber, and
psychotherapist appointments as ordered

2. Anxiety - Will utilize coping skills as recommended by psychotherapist

3. Secial Isolation — A mental health worker was recommended to assist Altamir, and
services approved by United Health Care
Contact person: Cindy Murphy RN, healthcare advocate (855) 202-0713, Extension:
74019.

ADAPTIVE & ASSISTIVE DEVICES
1. Left Ankle Foot Orthosis for support while ambulating — Is currently in use

Page 2 of 4
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 31 of 78 PagelD #: 152

2. Shower chair in the tub — In place
3. Hand rails in the stairway — In place

4. Hand rails in the bathroom — In place
MEDICATIONS

Mother will administer all medications as prescribed, and make follow-up appointments
with Altamir’s primary care physician, specialists and therapists for further assessment and

recommendations of medication management.
CARE TAKERS

This parent is a Registered Nurse by profession with 19 years of experience, and she will
continue to assess for any medication side effects, behavioral changes and any change in
condition, make appropriate interventions that are necessary. Parent will continue to
communicate any concerns to Altamir’s healthcare providers and implement their
recommendations.

Parent will also involve the mental health worker assigned to Altamir in the home setting with

 

recommendations, coping skills, discuss any medications prescribed and their potential side
effects as well as their therapeutic effects, in order to effectively observe Altamir, communicate
any changes and help improve his behavior.

EVALUATION

Care plan will be updated monthly and as needed to i mprove Aliamir’s quality of life.

GOAL
Gradually, with the care and resources Altamir will receive, we will encourage him to perform

self care, and to manage his emotions

Page 3 at 4
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LIST OF HEALTHCARE PROVIDERS

1. Dr. Cameron Lang, primary care physician at Blackstone Valley Community Health
Center
42 Park Place
Pawtucket, RI. 02860
Ph: (401) 722-0081

2. John Riccietelli, psychotherapist therapist at Morin Therapy
1803 Smith Street
North Providence, RI. 02911
Ph: (401) 766-4477

3. Geran Keough NP, psychiatric medication prescriber at Quality Behavioral Health,
75 Lambertlind Highway
Warwick, RI. 02886
Ph: (401) 681-4274

4. Mikaela Caracciolo, physical therapist at Performance Physical Therapy
21 Division Street
Pawtucket, RI. 02860
Ph: (401) 226-0545

5. Dr. Amold Sinsevere, epileptologist at Boston Children's Hospital
300 Longwood Avenue
Boston, MA. 02115
Ph: (617) 355-7970

6. Boston Children's Hospital Developmental Medicine
300 Longwood Avenue
Boston, MA. 02115
Ph: (617) 355-7970

Respectfully Submitted.

A

Carline Vilbon 7
74 Prince Street
Pawtucket, Rhode Island
(401) 654-3470
vilbonc@yahoo.com

Dated: January 26, 2021

Page 4 of 4
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 33 of 78 PagelD #: 154

Exhibit W
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 34 of 78 PagelD #: 155

wiz, Rhode Island Hospital Vilbon, Altamir A
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FAS Providence RI 02903-4923 Acct #: 1007869834

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[Ee 8/24/2020: Admission (Diser

Clinical Notes (continued)
Based upon above, PT moderate complexity evaluation code 97162 is appropriate.

Signature:
Jess Gore PT, DPT

Electronic Signature

Electronically signed by Jessica Marie Gore at 8/26/2020 4-30 PM

gonsults by Christine Barron, MD at 9/17/2020 1556

 

 

 

Author: Christine Barron, MD Service: Child Protection Author Type: Physician
Filed: 9/17/2020 4:55 PM Date of Service: 9/17/2020 3:56 PM Status: Signed
Editor: Christine Barron, MD (Physician)

Consult Orders

1. Inpatient Consuit to Aubin Center [412772595] ordered by Marc J Perkel, Psy.D at 08/25/20 0719

Reason for Consult:
Medical Neglect

Case Summary:

Altamir "Alex" is a 13 year old witha past medical history of seizure disorder and behavioral problems (he had a work
up for ASD/developmental delay). This current admission started on 8/24/2020 due to worsening aggression and
suicidal ideation.

Aubin Center has been involved in the past due to concerns of sexual abuse by stepfather and more recently due to
concerns for medical neglect of his mental health care. Patient has had prior psychiatric admissions and the treating
psychiatric team identified that mother has not followed through on recommendations with increasing behavioral
concerns for this patient.

 

Prior documentation by CAP Fellow Abigail Keogh at Aubin Center: Per chart review, Alex was admitted to Hasbro &
three times (April 14-22, April 25- May 13, and June 25-present) in the last 6 months due to behavioral concerns, irl.
addition to an admission to Boston Childrens Hospital in early June for similar concerns. During Alex's admission tol
Hasbro 6 from April 14-22 mother signed an Intent to Leave (ITL) and thus Alex was discharged early. The primarj
team recommended that Alex attend the Hasbro partial program, but mother declined. During this admission DCYA

 

 

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Adm: 8/24/2020, DiC: 10/23/2020

Sicsen PiccresterertsssgQeemairs ge Gane gee ‘ ( reen (continued):

      

Clinical Notes (continued)

was called after Alex reported that his mother hit him with a belt, as a result DCYF put Communities for People irl
lace for Alex and his mother at time of discharge. Three days after his discharge, Alex was re-admitted to Hasbro 6]
at which time mother is documented as saying it was a mistake to have him discharged early the previous time. Alex
was hospitalized on Hasbro 6 from 4/25-5/13, after which time mother agreed to iransition him to the Hasbro Partial
Program. During their intake session with the partial program, however, mother refused to sign the censents due td
‘privacy issues||, As a result, mother decided not to send Alex to the partial program but to continue with therapy
through Communities for People. Communities for People closed out services shortly after due to mother's inability to
keep appointments and engage with them. Alex was then admitted to Boston Children’s from 6/2-6/19, although
mother is unwilling to share the details of this admission or why he was admitted there instead of to Hasbro. Most
recently, Alex was admitted to Hasbro 6 on 6/25 due to ongoing behavioral concems. During this admission mothel
again signed an ITL, and on several occasions became angry with staff. A report to DCYF was made during thid
admission due to concerns that mother will once again not follow through with discharge mental healtt]

recommendations for Alex]

A report was made to DCYF and DCYF CPI John Barletta is investigating. The team is in agreement that Alex ai
minimum needs to attend outpatient therapy on a regular basis. Mother appears to struggle with her own mental health
ssues, and has significant fear regarding the misuse/sharing of patient infarmation, which she states is the result of 4
ersonal experience. Mother also has a limited supported system, especially since Alex's stepfather is no longell
resent in the home. Mother does, however, recognize that Alex needs help from a mental health standpoint and hag
brought him for mental health treatment but does not consisenily follow through]

 

 

 

\Attended a treatment team meeting on Tuesday 9/15/2020 with psychiatric providers (Marc Perkel PhD and Mirabelid

Mattar, MD), mother and CP] John Barleita. Mother expressed her lack of trust and confidence with the team treating

her son but agreed to discharge on Thursday 9/17/2020 and to comply with all affercare plans. The same consistent

recommendations for the psychiatric team has been and aftercare plan that includes:

° Individual therapy that specializes in distress tolerance and trauma-focused therapy to address patient
concerns as well as a team with specialization in managing complex medical-psychiatric needs

® Medication Management from Psychiatry and Pediatrics/Neurology

 

 

During the in-person meeting mother agreed to have the patient participate in Gateway outpatient services, with thd
discussion that the Pediatric Partial Program was the most ideal but since mother did not want him to attend thai

rogram the second option would be Gateway with additional services to address his peer supports and interactions]
During that meeting mother changed her plan several times regarding having the current team make a referral or no}
to Gateway. Ultimately mother agreed to have the team send over a referral and she agreed to these services|
Gateway responded with an appointment on Thursday 9/17 in the afternoon. Therefore the plan would be to discharge
him on Thursday 9/17 and have him start services with Gateway immediately. Mother changed the Gateway
appointment to 9/22 as she has stated that she wanted to go on vacation. Reviewed with mother that was fine but he
needs to start with Gateway services no later than 9/22]

 

At that time there was discussions of the level of DCYF involvement needed to ensure patient has recommended
‘services. Since mother was agreeing to after care services a Straight Petition was requested by DCYF as due to prio]
history of agreeing but ultimately not follow through on recommendations]

 

Discharge plans were completed for today including a medical agreement summary that included all of the planned
aftercare that included]

 

At discharge patient needs to complete the following:
Gateway Healthcare Home-Based Services, intake with Matthew Dendey, MS 401-954-5988. This was initially
scheduled for 9/17 and rescheduled for 9/22 at 10:30 am based upon mother’s request. Dr. Barron spoke with
mother to assure that patient has his appointment no later than 9/22/2020
2. Social Groups:
a) Social Sparks RI, intake only line 401-334-3439, intake@socialsparksri.com

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Clinical Notes (continued)
b) Skills in Motion, 401-787-1178
Follow up with outpatient Psychiatry provider Jaron Keough, NP within 2 weeks of discharge
Follow up with Pediatric Physical Therapy 401-444-5020
Follow up with Rhode Island Hospital Neuropsychology 401-444-4500, Neutopsychoiogical Testing with
Christine Trask Wednesday 9/23 at 8:30 am
Follow up with Primary Care Physician Cameron Lang, MD 401-722-0081
Follow up with Neurologist at Boston Children’s Hospital for appointment and to discuss 1:1 that mother
identified was ordered by that provider.

wn Be

mn

Patient needs to complete all above identified aftercare and follow all the recommendations made by each of those
providers.

This was included in the discharge summary from Aubin Center and provided to DCYF. Notified that the Straight
Petition was filed and a court date on 9/21 was schedule and DCYF has updated mother|

 

Today contacted by HCH &th floor as mother refused to sign the discharge papers as she disagreed with the content|
Met with treatment team and mother at Patient/Guest Services on 1st floor of RIH. Mother stated she would not sign
discharge forms as she did not agree with the content, She stated that she would not follow through with Gateway ag
she wanted him to be evaluated by another team]

 

 

Attempted to review with mother that we could review the discharge paperwork and follow up appointments and have
the staff document that this was reviewed with mother but that she disagreed with the content. Reviewed that she
Would have to follow up with services thal are as outlined and previously agreed upon by mother or since she wanted
nim evaluated at another location to complete that and follow any and all recommendations. Mother would not agree td
this and left stating that she would call her lawyer. As documented mother wanted to sign the patient out of the ~
hospital Against Medical Advice (AMA) but that the patient was cleared for discharge so would not be against medical
advice and AMA is not an completed for inpatient Psychiatric admissions, rather they us an Intent to Leave form which
Would still require discharge information and to which mother had signed last Tuesday but then rescinded]

 

The 6th floor made several other attempts to plan discharge with mother today. Due fo the patient anticipatind
discharge this morning and still not discharged his behaviors were escalating. Mother blamed the hospital for this and
has poor insight into how her actions have resulted in the patient's escalating behaviors}

 

Mother called to state that she wanted to have the patient ransferred by ambulance from HCH to Carney Hospital. He
did not meet medical criteria of a hospital to hospital tansfer. Spoke with mother and Dr. Mattar mother stated that she
would not speak about discharge, she would not discharge him. Mother was agitated she stated that her son is now ir|
a “crisis” due to the staff. Attempted to explain to mother the options, and despite all efforts throughout this admissior|
Wwith mother refusing discharge and refusing to agree to follow up care a PRE with a 72-hour hold was filed. Mother

behaviors today are consistent with the pattem of behavior documented during prior admissions and atternpts to have
the patient receive the appropriate medical and mental health care, which mother agrees to but then refused when the

time comes to complete these services and plans|

 

 

Mother hung up on us and therefore was not able to explain the 72-hour hold and the current plan to not allow direct
‘communication as mother’s behaviors were escalating fhe patient's behaviors. Mother called the unit several times |
she was transferred to speak with this physician but she hung up when this physician took the phone call. Attempted
fo call other but she hung up when this physician introduced myself. It was reported that after the PRE with 72-hout
hold was completed mother had contacted the police to allege that the hospital was abusing the patient!

 

Developmental History: |s articulate, has obvious delays but is high functioning.

Past Medical / Past Surgical:
|Past Medical History: |Past Surgical History: |

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___ Adm: 8/24/2020, DiC: 10/29/2020

 

 

 

 

 

 

 

 

 

: Encephalitis > VAGAL NERVE
mycoplasma 8/2014 STIMULATOR
*Hemiparesis
left lower extremety
*Seizures

 

Home Medications:
Medications Prior to Admission

 

 

 

 

 

 

 

“. Azan (ONEl) 10 ma tablet
« cloBAZarn 20 mg tablet
- diazepam (DIASTAT ACUBIAL) 20 mq rectal kit

“¢  LORazeparn (ATIVAN) 1 MG tablet
* zonisamide (ZONEGRAN) 100 MG capsule

Current Medications:
Current Facility-Administered Medications
Medication: 3 #
* acetaminophen 325 1 mg “Oral O4H PRN
(TYLENOL) tablet
_.825 mg . cevcpescateeestttntneueectseennneese
* cholecalciferol 3,000 Oral Once Daily
(vitamin D3) Units
capsule 3,000 Units
+ cloBAZam (ONF)) 30mg = Oral Every
tablet 30 mg Moming
* cloBAZam (ONF]) 40mg = Cral Every
tablet 40 mag Evening
* diphenhydrAMINE 50mg Oral Q6H PRN
(BENADRYL) tablet
50 mg
Or
* diphenhycdrAMINE  SQmg__ Intramuscular Q6H PRN
(BENADRYL) 50
mg/mL injection 50
mg
* divalproex 750mg Oral Q12H SCH
(DEPAKOTE
SPRINKLE) capsule
conf 9 NG. oes nnnecenenceesebnnenennngenaenneennesasttantasstucentaceneesneneee
° “escitalopram — 10mg Oral Once Daily
oxalate (LEXAPRO)
tablet 10 mg
* lacosamide 250mg Oral 2 times daily
(VIMPAT) tablet
OTN cc ccsesseeesntenseveceeevesengeececianaacoeepeneenncesnecacecenaenneennneenee
. » LORazepam — dmg — Intramuscular Q6H PRN
(ATIVAN) 2 mg/mL

 
 

 

 

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injection dma
« LORazepam 2mg Oral Q8H PRN
(ATIVAN) tablet 2
mg
Or

+ LORazepam 2mg Intramuscular Q8H PRN
(ATIVAN) 2 mg/m

. LORazepam img Oral Q6H PRN
(ATIVAN) tablet 1
mg

* midazolam iQmg Nasal Once Daily
INTRANASAL soln PRN
(VERSED) 3 mg/0.6

oo fMh. 10 mg sescetctsatineententnnesieees ve seen

* polyethylene. glycol | “47 g Oral Once Daily
(MIRALAX) packet PRN
i7g

 

Home Diet: Regular for age
Allergies:

Patient has no known allergies.

Social / Family Histories:
Social History

 

  
 

 

 

 

 

 

 

Eb Maternal
“Smoking ‘Never Smoker Grandmoth
status: er
“Smokele Never Used * Depression Mother
ss -Anxiely disorder Mother
tobacco: * Psychiatric Maternal

 
 

Substance Us:

 

Lopics:: | iiness Uncle
“Alcohol Never : Depression Maternal
use: Uncle
Freque Never *Hyperlipidemia Maternal
ncy: Uncle

Passive Smoking
*Passive No
smoking
risk?
“Smoker

in contact
with

patient:
“Was
counselin

provided?

 

 

 

 

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3 & Lifespan 593 Eddy Street MRN: 10018451898, DOB: 2/1/2007, Sex: M
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3 Children's Has, EEG: itiniued)
Vital Sign Last Filed — Range (24 hours) =
Temp)97.7 °F (36.5 °C) (09/17/20 0800) [97.7 °F G6.5°C)]
Heart Ratel88 (09/17/20 0800) [88-98]
Resp|l9 (09/17/20 0800) [19]
BP}123/70 (09/17/20 0800) (112-1237 0-72) |
Weightl(!) 89.9 kg (220 Ib 3.8 ©2) (09/08/20 0800)
SpO2)97 % (09/17/20 0800) [97 %]
______O02 DevicelNone (Room air) (09/17/29 0800) See Vitals Report
_ Flow Ratef oo OO —

 

 

 

 

 

 

 

 

 

 

 

 

Prior Examination:

General appearance: Awake playing a game and easily transitions to talking with this physician

HEENT: Normocephalic/ atraumatic, pupils equally round and reactive, no subconjunctival hemorrhage, Extraocular
movement intact.Pinnae have no injuries. Nose no injuries, Oral pharynx no injuries.

Lungs: Clear bilaterally

Heart: Regular rate and rhythm

Abdomen: Bowel sounds normoactive. Abdomen soit, non-tender to Palpation without guarding

Extremities: Warm, well perfused, Capillary refill < 3 seconds. DP pulses 2+ and symmetric

Skin: no rashes on arms, feet, face

Neurologic: Alert and oriented x 3

Today:
Patient is currently sleeping. No notable change in examination.

Patient's Hospital Problems:
Principal Problem:
Adjustment disorder with mixed disturbance of emotions and conduct
Active Problems:
Focal epilepsy with impairment of consciousness, intractable
Left hemiparesis
MDD (major depressive disorder), recurrent, Severe, with psychosis
Unspecified intellectual disabilities
Status post VNS (vagus nerve stimulator) placement

Assessment and Recommendations: ; ;
Altamir A Vilbon is a 13 y.o. male with seizure disorder, who presents with acute SI and unsafe behaviors (eloping),

requiring emergent psychiatric hospitalization which began on 8/24/2020 for this admission.

 

He has had prior admissions for psychiatric reasons in the past and his team has identified that mother has not
followed through on his mental health care. A report was made to DCYF in the past and additional reports were made
during this admission due to medical neglect. DCYF filed a straight petition to ensure mother has supports, services
and monitoring that patient's medica! and mental health needs are met. A court date was scheduled for 9/21 and
mother was made aware of this by DCYF.

Today mother has refused to sign discharge forms, she is now stated that she will NOT follow up with outpatient
treatment plan as she does not want to follow the recommendations of this treating team. Mother could have
discharged him today and had him complete another evaluation at another institution, however she would not agree to
the discharge as planned today. This change in the discharge plan escalated the patient's behaviors, which mother

 

 

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3 e Life span 593 Eddy Street MRN: 10018451898, DOB: 2/1/2007, Sex: M
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Adm: 8/24/2020, DiC: 10/29/2020

    

 

 

Clinical Notes (continued)

blames on the hospital and has poor insight into how her actions today have resulted in the dysregulation ofthe
patient's behaviors.

Mother has demonstrated a pattern of agreeing to recommended treatment plans but not completing them. Mother will
blame others for this failure to follow up- such as reporting that the patient did not attend pediatric partial program
reporting that the program refused his admission when in fact he could not attend because mather would not sign the
forms.

Review of this history is consistent with medical neglect by mother. PRE with a 72-hour hold is filed to ensure thai
patient receives all necessary medical and mental health care.

Attempted several time to explain the PRE with 72-hour hold to mother and plan to not have her directly communicate
with the patient as this has caused increased dysregulation for the patient. Mother has hung up on this physician
several times so this discussion was not possible. lt was reported by unit that mother called the police to report that
the hospital was abusing her son. This physician is available to speak with mother to explain the PRE with 72 hour
hold when she is willing to speak with this physician.

Please send a copy of this report to PMD and DCYF CPi John Barletta

 

Primary Care MD: Cameron Lang, MD Phone: 401-722-0081
Referring MD: No ref. provider found Phone: N/A

 

 

 

 

 

| have discussed the plan of care with: current treatment team
| have reviewed, updated, and verified this note's content

Signature:
Christine Barron, MD
Electronic Signature

Electronically signed by Christine Barron, MD at 9/17/2020 4:55 PM

Consults by Jacab A Korzun, MD at 9/24/2020 1503

 

Author. Jacob A Korzun, MD Service: Pediatric Neurology Author Type: Resident

Filed: 9/24/2020 7:10 PM Date of Service: 9/24/2020 3:03 PM Status: Attested

Editor Jacob A Korzun, MD (Resident) Cosigner: Rachit Patil, MD at 9/28/2020
: 5:16 PM

 

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12 PagelD #: 162

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S arecare We treat every medical record as if it were our own.
LNA-W-ARTY

    

CARLINE VILBON
VZ6
74 PRINCE ST 455-12089
PAWTUCKET, RI 02860-2324 ALTAMIR VILBON
LOCRIO25

Dec 16 2020 7:49AM

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CONFIDENTIAL — MEDICAL RECORDS

This packet may contain information that is privileged, confidential and exempt from disclosure under applicable law. If you are nat the
intended recipient, please forward thesa records to the person(s) who handies medical records for your organization. Any misuse of this

information is a violation of state and federal Privacy laws and is strictly prohibited. if you feel you have received these records in error,
please cail (860) 560-3800.

Sharecare Health Data Services is the contracted Release of Information (RO!) provider for the source facility for these medical records. {f you
are interested in learning more about our RO! and related services, please call (800} 560-3800 or visit hds.sharecare.com.

 

Sharecare Health Data Services, it | 800.560.3800 | 8344 Clairemont Mesa Bivd, Suite 201, San Diego, CA 92114 | hds.shareenre.com
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 42 of 78 PagelD #: 163

Exhibit X
_ADDRESS (if different from above):

 

Case 1:21-cv-00267-MSM-LDA Document 42 Filed 07/06/21 Page 43 of 78 Pagel Obl 164

  

NAME OF CBILD Mamie c
ADDRESS

 

 

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oh DUD

NAME OF PARENT (Caretaker): Cae Willan

 

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scat MTT Ft nid in dance wi the provisions of-RIGL
49-11-5, @- Lduie), me ANE Rnetion).

 
     
 

 

 

    

 

 

 

There is is not evidence of injury® to the child. —_

NATURE AND EXTENT OF ABUSE/NEGLECT: \ LN
Dre

OTHER PE TINENT INFORMATION (history) : , na Cas “SO

 

 

15) WAS THE INJURY ae ACCIDENR __ OTHER ona coer
if the injury® was caused by other means, p im:

  

 

explain
Ende Lew ry fn Nhe mA \ Oye os AN 2 ars ee tT TAL
Vo DLE oars! ; stg Sas antonet
INJURY REEANS: “exftepsive corpo: Poe mghment ten~c ao A padwn
; fone SF rat tio’ without organine LOY e
“sexual molestation”
any type of tnfEcind injury, neglectful tseaiment evidenced by physical and/or emotional
harm".
i authorize the det n of this child: for his/her protection for a period of seventy-two (72) hours in:
_» hospitak the care of the Department of Children, Youth and Families or a Moenged child
care facility.
Idea not rize thé Petention of this child.

 

NATURE: _A- Onno DATE: 9 [1-202
Sea I he Bac

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IMPORTANT NOTES: 1) eae we bak ink. 2), We ey; wocesery pent 3) Pla aoid the mse
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Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 44 of 78 PagelD #: 165

Exhibit Y
Case.1:21-cv-00267-MSM-LDA Document 4-2--Filed 07/06/21—Page-45-6f 78-PagelD #: 166

STATE OF RHODE ISLAND
Department of Children, Youth and Families

Case Activity Note
CASE NAME: Vilbon, Carline Page 1

 

09/17/2020 Contact - Phone: With Medical Provider
01:00 PM Worker: John F. Barletta Entered By: John Barletta
TD: 7409549

Dr Barron called child to be discharge today mother refused to sign discharge agreement as she did nit
agree with child's diagnosed CPI advised expedited straight petition filed date for 9/21/20 12PM CPI
has text mother.

 

09/19/2020 Report/Other: Correspondence

05:15AM Worker: Ruth Crawford Entered By: Ruth Crawford

ID: 7410476
Carline Vilbon called the hotline this morning. She wanted to make sure that it was documented that she
is not mistreating her child. She refused to take her son home due to the belief that the hospital is setting
her up, and lying. She feels that the hospital is mistreating her son, and wants him to be transferred to
another facility. However, they are refusing. She is looking at getting an attorney. She can be reached at
401-654-3470

 

09/22/2020 Report/Other: Other CAN
02:45PM Worker: Susan E. Egan Entered By: Susan Egan
ID: 7411890
Carline Vilbon called hotline asking if SW is assigned ot her case yet. She can be reached at 654-3470

 

09/23/2020 Contact - Email: With DCYF Worker
02:00PM Worker: Deborah A. Drury-Houghton Entered By: Deborah Drury-Houghton
ID: 7412760

Placement Unit Request received from CPS Sup. Preliminary referrals sent to all specialized foster care

agencies. I will send them the referral packet and LON once they are providede. I notified the CCU of
the need for referrals as well. I sent a copy of the court order of 9/21/2020 to CCU with the email.
we - Case. 1:21-cv-00267-MSM-LDA—Decument4-2—Filed 67/66/24 - Page 46 of 78 PagelD #: 167
STATE OF RHODE ISLAND
Department of Children, Youth and Families

Case Activity Note
CASE NAME: Vilbon, Carline Page 2

 

 

09/23/2020 Report/Other: Critical Information/Medical
03:00 PM Worker: Lisa M. D‘Antonio Entered By: Lisa D'Antonic
ID: 7412626

CPI Sup spoke to Laura, nurse on Hasbro 6

She reports Altamir is currently diagnosed with depression and conduct disorder with mixed disturbance
of emotion and conduct.

His scheduled meds are

1) vitamin D3 1x daily

2) Onfi (for seizures) 30 mg at 630a; 40 mg at 630p

3) Depakote sprinkle (for seizures) 750mg at 630a and 630p
4) Vimpat (for seizures) 250mg at 630a and 630p

5) Lexipro (for depression) 10mg at 630a

His prn meds are

1) benedry! (for agitation) 50 mg

2) ativan img for cluster seizures (3 or more in 1 hour)
3) versed 10 mg for a seizure lasting over 5 minutes

 

09/24/2020 Report/Other: Other CAN
08:30AM Worker: Susan E. Egan Entered By: Susan Egan
WD: 7412811

Carline Vilbon called the hotline asking who her SW is. She can be reached at 654-3470. She requested
a call back from whomever is assigned.

 

09/24/2020 Contact - Phone: With Parent
11:20AM Worker: Lori A, Fernandes Entered By: Lori Fernandes
ID: 7412989 Case Participant(s): Carline Vilbon, Altamir A. Vilbon

Return call to Carlin. Left message.

09/24/2020 Contact - Phone: With Parent
02:57PM Worker: Lori A. Fernandes Entered By: Lori Fernandes
1D: 7413210 Case Participant(s): Carline Vilbon, Altamir A. Vilbon

Call from Carline, She said she is not able to speak to her son. DCYF needs to monitor the phone calls
and she cannot speak to her son. She said she has brought her son to the hospital and has not been
negligent. She said she has been treated unfairly and she refused to sign the document that indicated
parent/child conflict. She said her son has epilepsy and has managed his care. She said she has followed
all of the Doctor's recommendations. Her son was unjustly taken away. She should not have to fight
with the hospital. They have been mistreated. She did not anticipate this. He was admitted because he
was having difficulty being isolated because of COVID. Told Carline that DCYF is here to work with
her now and her son home. Informed her of court date and will not sign anything until she speaks to her
Attorney.
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 47 of 78 PagelD #: 168

Exhibit Z
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 48 of 78 PagelD #: 169

Olsds i998 = WALL p/

4 . Rhode Island Hospital / Hasbro Children’s Hospital
Wi . NOV 16 2023 Health Information Management Department
3 « Lifespan 593 Eddy Street

CHINN Providence, RL, ‘02903
Tels 401.444.4040; Faxe: 401.444.7936

WY. Authorization to Use or Disclose Protected Health Informatio

; (This form must be completed in full before signing) W
Patient Name Bluse As Valhan nos 02 fa; Jez, Phone(4o[ )GSU-S4 Aj

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Crnce Sf] _Pagrtuckst, RE 02860)

3. Dats of Geant or tine peo FO) ON] TT — LYS) ZA forrest on atid
4. Purpose for which disclosure is fo be made: (1 Coordination oF Care EF Patient Request eh 70
1 A

 

 

 

 

 

 

CI Other (please specify):

5:Record Format-please check one: [Paper Cdsta starage device

6. Information to he disclosed (check all applicable): There We a fee associated with this request

-fmergency Dept. Record [1 Operative/Path Report Lab/xX-ray Reports wor Other Diagnostic Testing
EClini/Office Visit 1 Consultation/ Evaluation (After VisitSummay —

Cipischarge Summary

COther
Abstract includes: ¥; ED Record, H F, DIC Sommary, Consnit, Operative report, Pahilogy report, testreulls, PLT OF TST
Lp ilee tf, thee
Y wo i Assessment [/?Tyestment Plan Psychiatric Evaluation edications

7. Ido not want the following information disclosed:  O mental health Clalcohol/dmug usedtest
1 sexual abuse C1 sexually transmitted infections CI AIDS/ETY fest results a

  

 

 

Y 8. Tuadersteod that my records are protested wader tho Sederal privacy laws and regulations ond under the General Laws of Rhade fsfond, and cannot
be disclased without my written consent except 2s otherwise specifically provided by fawn. Telsa understand that certain health reeards containing
alonbol or dmg hase {nformation may be subject to further protection under Federal Hegulation 42 CER Part 2. Canfideatiality of Alcahol and Drag

Se, . . -
9. Eumnderstand that if the person(s) or entity (ies) thet recelve(s) this Information is not a health care provider oc health plan covered by federal
regulations, tha information described shove may be realsclosed and isno longer puntected by those regulations. Therefore, Irélease Lifespan, its

* employees and my physicians fiom nll Uabliity axistog from this disclosora ofmy health information.

-  10.Itis my understanding that this authorization is for information we havent the tine of your rrqnest, only for ths information requested above and
will expire 1 year from the date signed below. U understend that ¥ may revake this entherlzation by notifying, Lifespan in waiting, I underotend thar
any previously disclosed information would not be subject to muy revocation request. .

{L.Lunderstond that I wmsy refise to sign this authorization and that my réfiisel fosign WI not affect my ebility to obteln treatoent, payment, or my
eligibility for benefits, unless othe

oh ole described in the spare provided here:
bon = pn hal if eee -

Paat name of Patient, “Legal Guardian ar Represciaaty DaiedTima

“Nete Conceming Minors: For disclosures to persons / catitles otter thea medical providers, the slenature of apaticat under 19 years who geve legal consent for
testing, exeminatfon or treatment for reportehle cartmenicehls disease (including BIV & veal disease} cc for alcotiol and/or dmg ebuse treatment is required,

Rev: 1/2016

 
  
 
  

 
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 49 of 78 PagelD #: 170

wiz, Rhode Island Hospital Vilbon, Altarnir A
= © Lifespan 593 Eddy Street MRN: 10018451898, DOB: 2/1/2007, Sex: M
FINS srnennghnih uncon Providence RI 02903-4923 Acct #: 1007833234

Adm: 8/17/2020, D/C: 8/24/2020

wy
am

= Lifespan
~ Delivering health with care. =

 

 

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WM Rhode Island Hospital Vilbon, Altamir A
3S € Lifespan 593 Eddy Street MRN: 10018451898, DOB: 2/1/2007, Sex: M
ZA rng nuh thar Providence RI 02903-4923 Act #: 1007833234

Tas SI 72020, DE. aren

   
 

 

 

F

Visit Information

Admission Information
PANT
“Arrival Date/Time: 08/17/2020 2142 Admit Date/Time: 08/17/2020 2151 IP Adm. Date/Time: 08/18/2020 1338

 

Admission Type: Emergency Point of Origin: Non-healthcare Admit Category:
Facility
Means of Arrival: Ems Pawtucket Primary Service: Pediatric Hospitalist Secondary Service: N/A
Transfer Source: Service Area: LIFESPAN Unit: Hasbro Children's
CORPORATION Hospital 6 Red
Admit Provider: Michael P Koster, Attending Provider. Lynne M Refening Provider:
MD Palmisciano, MD

Discharge Information

 
  
 

 

 

 

   

    

 

 

 

“Hasbro Childrens ‘Hasbro Childre
Hospital Hospital 6 Red

 

“Psychi atric Hospital

 

08/24/2020 2021

 

Follow-up Information

  

 

 

 

 

 

 

Cameron Lang, MD “Follow up in 2 day(s) - 30 East Avenue Pawtucket Ri 02860 401.723.
0081

 

Reason for Visit
fannie

Chief Complaints _—

= Suicidal
* Aggressive Behavior

 

Visit Diagnosis
[EN
Autism (primary)
Hospital Problem: s

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

[Name cs: scan} Date: Fait aC
Suicidal ideations (primary) 04/5020 —_ Exempt from om PC POA
” vo reporting.
Autism = = Unknown
Parent-child conflict 05/3/2020 _ Exempt from POA
reporting
Seizure disorder - 08/27/2015 ~~ Yes
ED Provider Note
ED Provider Notes by Melissa N Rodriguez Rodriguez, MD at 8/17/2020 2206

 

 

“Author. Me ‘Melissa N Rodriquez Rodriguez, ” “Service: Emergency Mex Medicine > Pedi ~~ Author Type: Resident :

MD

Filed: 8/48/2020 1:37 AM Date of Service: 8/17/2020 10: 06 PM Status: Attested

Editor: Melissa N Rodriguez Rodriguez, MD (Resident) Cosigner: Lynne M Palmisciano, MD at

8/18/2020 1:35 AM

 

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Exhibit 1
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 52 of 78 PagelD #: 173

Boston Children's Hospital BCH MRN: 489-58-66
Patient Name: VILBON, ALTAMIR A

DOB/Age/Sex: 2/1/2007 13years Male

 

 

Ambulatory Documentation

 

 

From: Ricci , Giovanna

To: Epilepsy/SanseverePool;
Sent: 01/07/2021 11:44:07 EST
Subject: Confirm Rx / Update

Lynn Andrews is an RN at Altamir's group home. Altamir was recently discharged from Bradley hospital on 12/30 and she
believes they may have accidentally changed his medication doses

- Dr. Sansevere's most recent Lacosamide instructions were 300mg BID, but Bradley changed it to 250mg AM and 300mg
PM.
If Dr. Sansevere would like to keep him at 300mg BID, she would like a new Rx sent to Genoa pharmacy

- Most recent Ativan instructions were 1 mg PRN seizure not to exceed 2 doses in 24 hours, Bradley changed it to Img
4x/day PRN, included to administer for agitation as well. She wanted to know if Dr. Sansevere is in agreement with this
change

- They also changed the VNS order to swipe every 1 minute during a seizure, she wanted to verify that Dr. Sansevere
would like to continue with this.

She reports Altamir is having an increase in seizure activity, a possible trigger is transitioning from the group home to the ED
and the ED back to the group home.

Altamir typically has 1-2 seizures each day and can go a few days without seizure activity, but for the past 3 days he's had 4-6
seizures each day. They typically last less than 30 seconds but there was an episode that lasted 1 minute. The timing varies
and sometimes they occur while he's sleeping. Seizures consist of abnormal movements, other seizures consist of him being
unresponsive for a few seconds without abnormal movements. No recent fever or illness, no significant changes in appetite.
He continues to experience difficulty sleeping.

Lynn can be reached at: 401-623-0321

THIS IS A COPY OF BCH ELECTRONIC MEDICAL RECORD
Print Date/Time: 1/25/2021 08:08 EST Lebel,Linda Report Request ID: 77508233
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 53 of 78 PagelD #: 174

Exhibit 2
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 54 of 78 PagelD #: 175

Boston Children's Hospital BCH MRN: 489-58-66
300 Longwood Avenue Patient Name: VILBON, ALTAMIR A

Boston, MA 02115
Phone: (617) 355-5000 DOB/Age/Sex: 2/1/2007 13 years Male

Admit Date: 7/27/2020 Patient Location: Epilepsy
Discharge Date: 7/27/2020 Patient Type: Outpatient
Financial #: 6127305012

 

| Ambulatory Documentation

 

 

DOCUMENT NAME: Neurology Communication
SERVICE DATE/TIME: 1/13/2021 12:35 EST
PERFORM INFORMATION: KUBISKI RN,RACHAELANN MARIE (1/13/2021 14:08 EST);

SANSEVERE MD,ARNOLD J (1/13/2021 12:35 EST)
SIGN INFORMATION:
RESULT STATUS: Modified

Addendum by KUBISKI RN, RACHAELANN MARIE on January 13, 2021 14:08:53 EST
From: KUBISKI RN, RACHAELANN MARIE (Epilepsy/SanseverePool)

To: Epilepsy/SanseverePool; SANSEVERE MD, ARNOLD J;

Cc: Epilepsy/SocialWorkPool;

Sent: 01/13/2021 14:08:53 EST

Subject: FW: Confirm Rx / Update

Spoke with Lynn (group home RN), Altamir was readmitted to Hasbro and their behavioral health unit on Monday. Unclear
what the plan is when discharged, where he will be placed, or if follow up will be with Hasbro or BCH.

 

From: SANSEVERE MD, ARNOLD J
To: Epilepsy/SanseverePool;

Sent: 01/13/2021 12:35:22 EST
Subject: RE: Confirm Rx / Update

Thank you.

The current adjustments are fine as is the swiping frequency.
He will need a follow up. He missed the last appointment.
They should see sleep medicine if sleeping issues continue.
Thanks!

Arnold J. Sansevere, MD

Attending in Pediatric Neurology and Epilepsy

From: KUBISKI RN, RACHAELANN MARIE (Epilepsy/SanseverePool)
To: Epilepsy/SanseverePool; SANSEVERE MD, ARNOLD J;

Sent: 01/07/2021 13:28:19 EST

Subject: FW: Confirm Rx / Update

Please see below and respond to questions.

THIS IS A COPY OF BCH ELECTRONIC MEDICAL RECORD
Print Date/Time: 1/25/2021 08:08 EST Lebel,Linda Report Request ID: 77508233
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 55 of 78 PagelD #: 176

Exhibit 3
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 56 of 78 PagelD #: 177

STATE OF RHODE ISLAND
PROVIDENCE, SC. FAMILY COURT
IN THE MATTER OF: F.C. NO.
VILBON, Altamir P.J20-002943

MOTION TO MODIFY MOTHER’S VISITATION

Now comes the Department of Children, Youth and Families, ("DCYF") by and through
its attorney, and respectfully requests that this matter be set down for review and as grounds

therefore states:

1. That the above-named child, thirteen (13)-year-old Altamir Vilbon, aka Alex Vilbon, is in
the temporary custody of DCYF until further order of the Court.

2. That said child is a resident at the Center for Autism and Developmental Disability
(CADD) Rumford House group home (“the Residence”); and carries the following
diagnosis: Intellectual Disability, Major Depressive Disorder, and Adjustment Disorder.

3. That on October 29, 2020, said child was admitted, and has since require inpatient

hospitalization twice following significant events of crisis behavior in the milieu.

4. That Mother has been uncooperative with service planning despite reasonable efforts by
DCYF to engage with Mother do so. Mother has also refused to sign any releases for

placement and medical releases that would allow for the coordination of services.

5. That, in addition to phone calls with said child during the week, Mother visited with said
child on November 13, 2020 and November 20, 2020. Mother was scheduled to visit with
said child on November 6, 2020, however, this visit was cancelled due to the ongoing

public health crisis.

6. That residential staff reported that during these events, said child reacted negatively to his
Mother’s leaving the residence including, but not limited to, physically preventing mother
from leaving. Said child engaged in self-injurious behavior, aggression towards others,

property destruction, and suicidal behavior when residential staff attempted to intervene.
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VILBON, Altamir PJ20-002943

7. That staff at the Residence have requested that contact between Mother and said child be
temporarily limited while said child safely adjusts to being in residential care, where he

can get the necessary treatment with the ultimate goal of reunification with Mother.

8. That the foregoing establishes that there has been a substantial change in circumstances
that poses an imminent risk of harm to the above-named child: That said child shows
serious emotional symptoms requiring immediate help and/or lacks behavioral control, or
exhibits self-destructive behavior; and Mother is unwilling or unable to arrange or

provide care.

9. That based on the foregoing, it is in said child’s best interest for visitation with Mother to

be temporarily limited.

10. That the letter provided by Social Caseworker Tia Sae-Eung and Casework Supervisor

Norie Sherman is attached hereto and incorporated herein as “Exhibit A”.

11. That the letter provided by Bradley Hospital is attached hereto and incorporated herein as
“Exhibit B”.
WHEREFORE, your petitioner prays that this Honorable Court, in granting DCYF’s
Motion to Modify Mother’s Visitation, make the following findings and grant the following

relief:

1. Find that the action(s) and/or lack thereof taken by the Parents in response to the above-

named child’s action or inaction has caused said child to suffer undue emotional stress.
2. Find that a modification of visitation is in the best interests of the above-named child.

3. Order that DCYF have discretion as to visitation.
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VILBON, Altamir PJ20-002943

4. Order that Mother’s visitation be supervised by DCYF or a third-party approved by
DCYF.

5. Order Mother to sign releases for placement and releases for medical and medications to

allow for the coordination of services.

6. Any and all other such relief that that Honorable Court deems right and just.

Respectfully submitted,

DEPARTMENT OF CHILDREN, YOUTH
AND FAMILIES

By its attorney,

Lf Alexander S8. Cony
Alexander B. Terry, Esq. (#10046)
EOHHS-DCYF Senior Legal Counsel

NOTICE

Diane Daigle, Esq., CASA, ddaigle@courts.ri.gov
Susan Pires, Esq., SUSANPIRES@PIRESLAW.COM
Tia Sae-Eung, SCW I, Tia.SacEung@dcyf.ri.gov

Susan Rivera, SCW II, susan.rivera@dcyf.ri.gov

Please take notice that the above will be called for an in person hearing on the 18" day of
December 2020, in Providence/Bristol County Family Court. Please be advised that this matter is
already scheduled for that date.

Lf Alexander S8. Com
Alexander B. Terry, Esq. (#10046)
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 59 of 78 PagelD #: 180

VILBON, Altamir PJ20-002943

CERTIFICATION

I HEREBY CERTIFY THAT on the 14 day of December 2020:

x I filed this document through the Rhode Island Judiciary’s Electronic Filing
System and sent a copy of this document to the following parties via e-mail to the above-named
parties.

The document electronically filed and served is available for viewing and/or downloading

from the Rhode Island Judiciary’s Electronic Filing System.

/s he ‘Pevander: QB. Terry
Alexander B. Terry
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 60 of 78 PagelD #: 181

Exhibit 4
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 61 of 78 PagelD #: 182

RHODE ISLAND FAMILY COURT

 

Plaintiff, .
Department of Children DOCKET NO. PJ20-002943
Youth and Families

VS.

Defendant,
Carline Vilbon

 

DEFENDANT’S MOTION FOR PROTECTIVE ORDER AND OBJECTION TO DCYE’S
MOTION TO MODIFY MOTHER’S VISITATION

Pursuant to Rhode Island Rule of Juvenile Procedure, rule 10 (g), (1),(a),(c)., I request this court
to deny the Plaintiff's motion to modify my visitation, because I have been falsely accused and
that Plaintiffs have sought their motion in bad faith.

As ground for this objection, I state the following:

Altamir A. Vilbon was unlawfully detained as a result of the DCYF’s and the Lifespan facilities
unlawful practices, which has caused suffering, worsening of his medical and psychiatric

conditions.

1. 1 deny the allegations in paragraph 3, because the events which preceded Altamir’s
hospitalizations were orchestrated by The Rumford House and their affiliates as
stated in my Motion to Stay Pending Appeal, of Plaintiff's Certification Complaint
Docket entry 12/21/20 and my Amended Petition for Writ of Habeas Corpus,(Docket
entry 01/08/20 Exhibit H) where an employee at the Rumford House, inflicted trauma

on Altamir, exacerbated his symptoms in attempt to have him indefinitely committed.

Page 1 of 6
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2.

I deny the allegations in paragraph 4, and state that Tia Saeung’s was coercive and
intimidating in offering a service plan, and showed no consideration, when I objected

to offering me mental health services, which is unconstitutional. See text

conversations dated 11/10/20 and 11/12/20 in EXHIBIT A.

. In paragraph 6, the behaviors exhibited by Altamir was a result of the trauma that was

inflicted on him during his admission at the Hasbro Children’s Hospital (HCH),
where he was unlawfully detained, frivolously restrained, physically and chemically,
and put on seclusion and isolation from me and his family, who he relies on for
emotional support.

Plaintiffs request in paragraph 7 should also be denied, because the Rumford House
have not implemented any effective treatment for Altamir, have disobeyed his
doctor’s orders, prevented him from receiving treatment from his healthcare
providers, and failed to enroll him in school for nearly one month. I reported this
medical and educational neglect to the DCYF’s hotline and to the Guardian At Litem
on November 9, 2020( See Amended Writ of habeas Petition Exhibit D).

I object to and deny the allegations in paragraph 8, where the Plaintiff is trying make
accountable for any change in Altamir’s condition, because it was worsened by the
Lifespan facilities. And although I have attempted to cooperated with the Rumford
House’s nurse in scheduling Altamir’s medical appointments, but when it became
clear that they ill-intents in preventing Altamir from seeing his healthcare providers, |
was not obligated to sign any documents, which would incriminate me and or cause

further harm to my son, and that such signatures could have been obtained from the

Page 2 of 6
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DCYF’s director ( See Defendant’s Motion to Stay Pending Appeal (Docket entry
12/21/20 Exhibit C and D).

6. Lobject to and deny the allegations in paragraph 10 through 11, and further state that
the statements in Exhibit A and Exhibit B were forged in part, in order make
accountable for any change in Altamir’s condition, and the Rumford House’s failure
to provide proper care for Altamir as stated (in Defendant’s Motion to Stay Pending
Appeal (Docket entry 12/21/20 Exhibit C and D). J further deny the allegations in
Exhibits A and B that after each phone call with me, Altamir misbehaves, and gets
out of control, because those statements are in contradiction with the phone calls that
L receive from the staff to help intervene with Altamir, during time of crisis. And
most recently, on January 2, 2021 at 12:36 PM, a staff named Anthony left me a
voice message, requesting my intervention with Alex. Due to time constraints, | am
unable to produce this voice message in accordance with the Court rules, but I can
submit this evidence if the Court requires it.

In regards to Altamir’s second hospitalization stated in Exhibit A of Plaintiff's
motion, I felt obligated to check on Altamir, as I heard a sound of a boy like his voice
crying in the background, and therefore, tried to console him, to prevent any

unnecessary hospitalization.
ADDITIONAL CONCERN DURING DISCOVERY

Tia Saeung the DCYF’s social worker left this case, shortly after derogatory letter to the Court
about me, I became concerned of being falsely accused, as I did in the past, where Saeung told
me that I caused my son to be deregulated (See Amended Writ of Habeas Corpus Petition Docket

entry 01/08/21 Exhibit F).

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The new social worker Susan Rivera who replaced Ms. Saeung has also showed a lot of concerns
based of the false allegations that have been submitted to this Court in support of DCYF’s
Motion to Modify my visitation. To prevent further misrepresentations and accusations, | have
placed the visits with Altamir on hold, and told Mrs. Rivera about my concerns, which I have
clarified with Altamir was for our own benefit not to appear at the Rumford House, whose staff
have accused me falsely, until I address my concerns with the Court. See email conversation

with Susan Rivera dated 12/23/20 as EXHIBIT B and email dated 12/30/20 as EXHIBIT C.

Despite the danger that I perceived in communicating directly with the Rumford House
Administrative staff, Susan Rivera has sent many email messages to me, requesting and
demanding that I contact the Rumford House, and claimed that it was in the best interest of
Altamir, and that she hired a company name Boy’s Town to supervise my visits, without a court

order. See email communications with Susan Rivera dated 01/06/21 as EXHIBIT D.
CONCLUSION

The DCYF’s social workers, Tia Saeung and Susan Rivera have acted unprofessionally toward
me, by incriminating which put me and my son at risk of harm and injustice where the Court

would rely on their misrepresentation.

WHEREFORE: WHEREFORE, I the Defendant, Carline Vilbon, respectfully request
this honorable Court order for a protective order allowing me to record all further telephone
calls, visitation, and Zoom calls, to provide evidence to the Court of what was stated if needed,
and to prevent false hearsay allegations.

T also request the Court to deny the DCYF’s Motion to Modify Mother’s Visitation for good

cause, based on the misconduct of DCYF’s employees and accusation of the Rumford House

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staff which are in violation of this Court’s discovery procedures pursuant Rhode Island Rules of
Juvenile rule 10(g), (1),(a),(c).
Respectfully Submitted

VY
Carline Vilbon

74 Prince Street
Pawtucket, Rhode Island
(401) 654-3470
vilbonc@yahoo.com

Dated: January 11, 2021

CERTIFICATE OF SERVICE
| hereby certify that, on the 11” day of January 2021, I served
a copy of the following documents:Defendant’s Motion for Protective Order and Objection to-
DCYF’s Motion to Modify Mother’s Visitation and EXHIBITS A through D via electronic mail
xoy and

to the Plaintiff's attorneys Alexander B. Terry at alex.ierry@dcyf.ri.

   

Attorney Diane Daigle at ddaigle(@courts.11.g0Vv

Carline Vilbon

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Plaintiff, STATE OF RHODE ISLAND
Department of Children, Youth and Families FAMILY COURT

And Fa_ ilies PROVIDENCE COUNTY
Defendant,

CARLINE VILBON

 

Case No. PJ20-002943

AFFIDAVIT

1, [Carline Vilbon], being first duly sworn on oath, depose and state that I am the Defendant in
the above action; that I have read the above and foregoing Defendant’s Motion for Protective
Order and Objection to DCYF’s Motion to Modify Mother’s Visitation and that the statements

and Exhibits vi are true and correct to the best of my knowledge and belief.
Boll t yj

DLAF BS | 8322.
a

{Carline Vilbon], Defendant,

74 Prince Street, Pawtucket, RI. 02860

Subscribed and sworn to before me this l | day of yg hal | 2021
. qt ty,

~ Pe *.

Ff fom % =

=o Ipglhlic 2

. zai“ F7% fc

Notary Public 2, 08% =
My Commission Expires “So os

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Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 67 of 78 PagelD #: 188
1/11/2021 Yahoo Mail - Fw: (EXTERNAL] ; Re: Visitation

Fw: [EXTERNAL] : Re: Visitation

Fram. Carline Vilbon (vilbonc@yahoo.corm)
To: vilbonc@yahoo.com

Date: Sunday, January 10, 2021, 05:48 PM PST

-- Forwarded Message -----

Fram: Carline Vilbon <vilbonc@yahoo.com>

To: SaeEung, Tia (DCYF) <tla.saeeung@dcyt.ri.gov>
Sent: Thursday, November 12, 2020, 10:14:02 AM PST
Subject: Re: [EXTERNAL] : Re: Visitation

Also,

Please save your plan so that you can address it with the judge on our next hearing
date. Especially anything fo do with mental health treatments you are suggesting for
me. At that time | will make my objections in Court.

Inthe meantime, | am open to any suggestions that you may have for my son

Carline Vilbon

On Thursday, November 12, 2020, 09:53:40 AM PST, Carline Vilbon <vilbonc@yahoo.com> wrote:

| never told you that | had mental issues.

The Court hearing is still pending. Therefore. | will be ready to address all concerns to
the judge.

Please note that | have the right to due process. And | reserve the right to a proper
hearing.

Thanks,

Carline Vilbon

On Thursday, November 12, 2020, 06:41:00 AM PST, SaeEung, Tia (DCYF) <tia.saeeung@dcyf.ri.gov>
wrote:

Okay | will create the plan to include services for Alex around medical and psychiatric needs, mental health
service for you, and parent and child visitation program. | can create the plan and then provide to you, and
you and your attorney can go over the plan and if there are any issues or concerns it can be discussed at the
next court date.
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 68 of 78 PagelD #: 189
1/11/2021 Yahoo Mail ~ Fw: [EXTERNAL] : Re: Visitation

From: Carline Vilbon <vilbonc@yahoo.com>

Sent: Tuesday, November 10, 2020 12:11 PM

To: SaeEung, Tia (DCYF) <Tia. SaeEung@dcyf.ri.gov>
Subject: [EXTERNAL] : Re: Visitation

i will be there on Friday 11/13 @ 2:30 PM. However | am not at the point to discuss a
service plan at thin time, because we are still in a legal process, and | would like to have
a court decision. before | proceed further.

Thanks,

Carline Vilbon.

On Tuesday, November 10, 2020, 07:11:39 AM PST, SaeEung, Tia (DCYF) <tia. saseung@adcyirigov>
wrote:

Hi Carline, Rumford house has stated Alex will be off quarantine on Thursday 11/12, can we scheduie an
in person visit for Friday 11/13 at 2:30PM?

Aliso can we schedule a zoom call to discuss you service plan with the Department. The goal of this
meeting is to discuss with you your understanding of why the case opened and to gain you perspective on

services needed for your son and yourself. | would like you input when service planning. | can schedule
the zoom call for Thursday at 3PM.

Let me know if these limes work for you.

Tia Sae-Eung
Social Case Worker I
Department of Children, Youth, and Families

530 Woad Street
Case 1:21-cv-00267-MSM-LDA
4141/2021
Bristol, RI 02809
Office: (401)254-7029
Fax: (401)254-7068

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Yahoo Mail - Fw: [EXTERNAL] : Re: Visitation
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 70 of 78 PagelD #: 191
1/9/2021 Yahoo Mail - Re: [EXTERNAL] : Re: Visit

Re: [EXTERNAL] : Re: Visit

Fran Carline Vilbon (vilbonc@yahoo.com)
ta. susan.rivera@dcyf.ri.gov

Date: Wednesday, December 23, 2020, 08:22 AM PST

Since this appears to be an area of concern for you, | will hold all further visitation until a
Court decision is made regarding this matter.
Therefore, | am also canceling the virtual meeting with you and Alex.

Carline Vilbon

On Wednesday, December 23, 2020, 07:08:14 AM PST, Rivera, Susan (DCYF) <susan.rivera@doyi.ri.gov>
wrote:

| will call you at end of day today to review expectation for visit to support a positive visit for both you and
Alex

Thank you @)

From: Carline Vilbon <vilbonc@yanoo.com>

Sent: Wednesday, December 23, 2020 9:45 AM

To: Rivera, Susan (DCYF) <susan.rivera@dcyf.ri.gov>
Subject: [EXTERNAL] : Re: Visit

Good morning Mrs. Rivera;

Please excuse my delayed response. | would like to confirm the virtual meeting with you and Aiex on
Thursday 12/24, but unfortunately, | will not be able to attend the other meeting that was planned for
today.

Thanks,

Carline Vilbon
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 71 of 78 PagelD #: 192
19/2021 Yahoo Mail - Re: [EXTERNAL] : Re: Visit

On Tuesday, December 22, 2020, 06:55:43 AM PST, Rivera, Susan (DCYF) <susan fivera@dcyt.r.Gov>
wrote:

Carline

| would like to set a virtual visit for you and Alex
They have 1030 am Thursday 12/24

Will this work

Also | would like to meet with you prior to that I know the CASA SW was trying to set a meeting for us all
to meet say the Wednesday before at same time 1030ish

Please reply so | can secure both of these the visit and meeting

Thank you

susan Rivera

From: SaeEung, Tia (DCYF) <Jie SacEung@ceyLridov>
Sant: Wednesday, December 9, 2020 1:57 PM

To: Carline Vilbon <vilbonc@yahoo.com>

Cc: Rivera, Susan (DCYF) <susan tyverag@idavi rl gqov>
Subject: Visit

 

Hi Carline, would you like me to set up a virtual visit for Friday?

| have also cc’ed Susan, she will be the new case worker taking over the case.

Via Sae-Eung, i.&.

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Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 72 of 78 PagelD #: 193
4/9/2021 Yahoo Mail - Re: [EXTERNAL] : Re: Visit
Social Case Worker Ii
Department of Children, Youth, and Families
530 Wood Street
Bristol, RI 02809
Office: (401)254-7029
Fax: (401)254-7068

3/3
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 73 of 78 PagelD #: 194
1/9/2021 Yahoo Mail - Re: Meeting

Re: Meeting

From: Carline Vilbon (vilbonc@yahoo.com)

To: bparker@courts.ri.gov; susan.rivera@dcyf.ri.gov
Cc. patrick.costello@dcyf.ri.gov

Date: Wednesday, December 30, 2020, 08:52 AM PST

Good morning,

| appreciate you reaching out, but due to some concerns that | have about what has been
reported, | have decided to hold the visits until | address these matters in Couti.

| have explained this issue to Alex, and he understands that this precaution is for our own
benefit.

You may send me your information and questions via email.

Thanks again,

Carline Vilbon

On Tuesday, December 29, 2020, 06:45:31 AM PST, Rivera, Susan (DCYF) <susan.rivera@dcyf.ri.gov>
wrote:

| really feel it is important for myself and you to meet to go over case planning, visitation and discuss best
ways to move forward to have Alex reunify with you at your home.

Since I am new to the case | would like to be able to meet with you to best plan with you and Aiex

| also am aware of the connection Alex and you have a feel that holding off on visits until the court makes
decisions is impacting Alex emotionally since he misses you. Can we set this meeting up as well as a virtual
visit up with Alex

Please let me know what works best for you

Thank You

susan Rivera

4/2
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 74 of 78 PagelD #: 195
4/9/2021 Yahoo Mail - Re: Meeting

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Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 75 of 78 PagelD #: 196

Exhibit D
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 76 of 78 PagelD #: 197
1/9/2021 Yahoo Mail - Nursing

Nursing

Fram: Rivera, Susan (DCYF) (susan.rivera@dcyf.ri.gov)
To: vilbonc@yahoo.com
Cc bparker@courts.ri.gov

Date: Wednesday, January 6, 2021, 05:39 AM PST

Hello again Cariine

| was just asked to help support Rumford House as they have been really trying to connect with you to discuss
Alex Medical status due to restraint needs his Seizures ECT>>>

They were informed you would only communicate via email However they can not send any medical information
through email they really need to speak with you directly.

We—the Department and Rumford House really would like to ensure that we keep you Fully informed as to Your
son so when you get a chance please call Rumford house to speak with Nursing as to your son.

Thank you

Susan Rivera ©)

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Exhibit §
Case 1:21-cv-00267-MSM-LDA Document 4-2 Filed 07/06/21 Page 78 of 78 PagelD #: 199

wiz Rhode Island Hospital Vilbon, Altamir A
Ss = Life span 593 Eddy Street MRN: 10018451898, DOB: 2/1/2007, Sex: M
ANS cerns neath th core Providence RI 02903-4923 Acct #: 1007869834

Adm: 8/24/2020, D/C: 10/29/2020
08/24/2020 - Admission (Discharged) in Hasbro Children's Hospital 6 Green (continued)

Clinical Notes (group 11 of 32) (continued)
Peds: face to face exams while he is restrained are done.

 

Milieu report: escalating when he does not know what the plan is.

in session:

Today, Alex talked about feeling "crappy” and did not want to elaborate. This writer and Dr Perkel explained to Alex
that the plans of discharge fell through but did not give Alex all of the information about mom not having signed the
paperwork, then not wanting to take him, then wanting to transfer him to another hospital...

He is aware that he won't be able to call/receive calls from mom for now. We explained to him that his team is still
supportive of him and would treat him to his best interest.

Alex got upset and left the room.

Of note, | concur with the content of Dr Perkel and Barron's notes from today, and was present with them. Mom
wanted to sign Alex AMA or sign the ITL, during a discharge process, saying that she is not ok with the reason for
admission being written as parent child conflict.

The primary team was working with mom to explain to her the rationale as well as removed that from his chart, and
tried to find ways for mom to be able to leave with Alex without interpersonal conflict, but mom refused to take Alex
and would leave the room then come back.

She also requested to transfer him to another psychiatric hospital, which would not be appropriate since he was ready
for discharge (to go home) and we did not think that he has the need to be on an inpatient unit.

Alex’ escalation in behaviors is explained by him being at chronic risk of being disinhibited and impulsive (due to brain
injury) in combination with difficulty tolerating ambiguity, and him being unable to go home when that was the plan. His
feelings of upsetness (which he calls “crappy") started after he learned his plan is not going to be completed and mom
giving him (mis)information that the team is attacking her or not allowing him to leave.

ROS:

Psych-see above;

Neuro-no reported headaches, dizziness or weakness;

A full ROS is otherwise unremarkable except for issues documented in this note.

Restraints: none

Medications
Scheduled Meds:

*cholecalc 3,000 Oral Once
iferol Units Daily
(vitamin
D3)

*cloBAZa 30mg Oral Every
m Morning

*cloBAZa 40mg _ Oral Every
m Evening

edivalproe 750mg _ Oral Q12H
x SCH

*escitalopr 10mg Oral Once
am Daily
oxalate

*lacosami 250mg _ Oral 2 times
de daily

PRN Meds:.acetaminophen, diphenhydrAMINE **OR** diphenhydrAMINE, LORazepam, LORazepam **OR™

 

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